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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 September 16, 2022
                              IN THE UNITED STATES DISTRICT COURT                 Nathan Ochsner, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

JAMES T. TYNAN, JR.                            §
                                               §
                                               §
VS.                                            §        C.A. NO. 4:22-cv-1433
                                               §
U.S. BANK, N.A.                                §
                                               §

                                     ORDER OF DISMISSAL

          THIS MATTER is before the Court on the parties’ Stipulation of Dismissal.         The

premises considered; now therefore, it is ORDERED that all claims and causes of action brought

by Plaintiff James T. Tynan, Jr. (“Plaintiff”) against Defendant, U.S. Bank Trust National

Association, as Trustee of American Homeowner Preservation Trust Series improperly named as

U.S. Bank, N.A. (“Defendant”) are hereby dismissed without prejudice to re-filing same or any

part thereof.


          SIGNED this 16th day of September, 2022.




                                             HON. CHARLES ESKRIDGE
                                             UNITED STATES DISTRICT JUDGE




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